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 5    Attorney for Defendant
      JOHN FORD EPPS
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 7

 8                                   UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10

11
      UNITED STATES OF AfvIBRICA,
12
                        Plaintiff,
13
      v.                                              CASE NO. 2:16-CR-00291-GMN-PAL
14

15
                                                      MOTION AND ORDER FOR LEAVE TO
16    JOHN FORD EPPS,                                 OBTAIN A PRE-PLEA PRESENTENCE
                                                      REPORT
                        Defendant.
17

18
      Comes now the Defendant JOHN FORD EPPS, by and through his counsel of record, John
19
      George, Esq., and respectfully moves this Court for an order directing the United States Probation
20
      Office to prepare a Pre-Plea Presentence Report for the limited purpose of determining Mr.Epps'
21
      criminal history. In support hereof, Mr. Epps represents that the purpose of the report would be
22
      to assist Defendant Epps in determining the potential consequences of entering a plea and to
23
      confirm that he has properly recollected his criminal history. Preparation of the requested report
24
      would assist Defendant Epps and counsel in this matter.
25
                          MEMORANDUM OF POINTS AND AUTHORITIES
26
             The preparation and use of a presentence reports is governed by 18 U.S.C. § 3552 and
27
      Rule 32 of the Federal Rules of Criminal Procedure. The text of Subparagraph (e) to Rule 32
28
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 1    lends support for the position that Rule 32 permits the preparation of a pre-plea presentence report

 2    prior to a plea agreement. Rule 32(e)(l) reads as follows:

 3           (e) Disclosing the Report and Recommendation.
 4           (1) Time to Disclose. Unless the defendant has consented in writing, the probation
                 officer must not submit a presentence report to the court or disclose its contents
 5               to anyone until the defendant has pleaded guilty or nolo contendere, or has
                 been found guilty.
 6
 7    According to its language, Subparagraph (e )(1) protects against non-consensual disclosure of a

 8    presentence report to a court or to anyone else prior to a defendant's plea of guilty or a finding of

 9    guilt. The protection against pre-plea disclosure necessarily suggests that the creation of a pre-

10    plea presentence report is permitted.

11           The pertinent portion of Rule 32 has been modified on several occasions. The legislative

12    history to the changes is informative.      The 1989 amendments to Rule 32(c)(l) made it the

13    functional equivalent of current Rule32(e)(l). The Advisory Committee Notes to the 1989

14    Amendments indicated the purpose of the provision:

15           In amending [then] subdivision (c)(l), the Committee conformed the ruleto the
             current practice in some courts: i.e., to permit the defendant and the prosecutor to
16           see a presentence report prior to a plea of guilty if the court, with written consent
             of the defendant, receives the report at that time. The amendment permits, but does
17           not require, disclosure of the report with the written consent of the defendant.
18
      Fed. R. Civ. P. 32, Advisory Committee Notes, 1989 Amendments.
19
             This history indicates that the probation department, under some circumstances, may
20
      prepare a presentence report prior to a plea of guilty. This interpretation also gives meaning to
21
      Rule 32(e)(l), which otherwise makes no sense. Where such a report is prepared, probation may
22
      disclose it the government and defendant and with consent to the court, prior to a plea of guilty.
23
      In this manner, a defendant can obtain critical information upon which to decide whether to enter
24
      into a plea negotiation.
25
             Defendant Epps is contemplating a plea offer extended by the government in this matter.
26
      There is some urgency in this request as Defendant Epps must decide pretty soon. Material to this
27
      decision is the determination as to his criminal history.
28
                                                      -2-
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 1           It is true that the Court may not participate in plea discussions, nor may the Court force

2     Defendant Epps to submit to an interview with probation in violation of his 5th Amendment right

3     against self-incrimination. Similarly, the Court may not force the government to reveal its

4     evidence at an earlier stage than might otherwise be required. However, the Court does have the

 5    discretion to order the probation office to prepare a criminal history of Defendant Epps. The

6     compilation of such a criminal history would serve the ends of justice and would not be unduly

 7    burdensome under the circumstances. It would not violate Defendant Epps' 5th Amendment rights

 8    or force the Government to reveal additional evidence. Defendant Epps' criminal history is a

 9    matter of public record and its impact upon sentencing is ordinarily fairly straightforward.

10    Therefore, the compilation of such information prior to a guilty plea, and upon specific request by

11    the defendant, would not give rise to concerns that the Court is improperly participating in plea

12    negotiations.

13           For the foregoing reasons, Defendant Epps moves this Court to order the United States

14    Probation Office to conduct a pre-plea presentence investigation for the limited purpose of

15    determining Defendant Epps' criminal history.

16           Dated this 7th day of September, 2017.

17
18                                                 ls/John George
                                                   JOHN GEORGE, ESQ.
19                                                 Nevada Bar No. 12380
                                                   Counsel for John Ford Epps
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       Attorney for Defendant
 6     JOHN FORD EPPS
 7
                                           UNITED STATES DISTRICT COURT
 8
                                             DISTRICT OF NEVADA
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                                                       ***
10
       UNITED STATES OF AMERICA,                             Case No. 2:16-CR-00291-GMN-PAL
11
                              Plaintiff,
12                                                           ORDER ON MOTION FOR LEAVE TO
       v.                                                    OBTAIN A PRE-PLEA PRESENTENCE
13                                                           REPORT
       JOHN FORD EPPS
14
                              Defendant.
15

16
              Defendant JOHN FORD EPPS seeks leave for the preparation of a pre-plea presentence
17
       report for the limited purpose of determining Mr. Epps' criminal history to assist in finalizing the
18
       parties' plea negotiations. The compilation of such a criminal history would serve the ends of
19
       justice and would not be unduly burdensome under the circumstances.
20
              Accordingly, and for the foregoing reasons,
21
              IT IS HEREBY ORDERED that Defendant John Ford Epps Motion for a Pre-Plea
22
       Presentence Report for a determination of criminal history is GRANTED.
23
       Ill
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       Ill
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       Ill
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     Case
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 1            IT IS FURTHER
      IT IS FURTHER         ORDERED
                      ORDERED          that theStates
                              that the United   United  States Probation
                                                      Probation          Office
                                                                Office shall    shall and
                                                                             prepare  prepare and to
                                                                                          provide
       provide to the Court by no later than November 8, 2017, a Pre-Plea Presentence Investigation
 2    counsel for Defendant
       Report with          Eppscalculation
                   the guideline  and the Government   at the
                                            requested for     earliest practicable
                                                          Defendant                date a criminal
                                                                       John Ford Epps's   Pre-Plea history

 3     only.
      Presentence Investigation Report for the purpose of determining Defendant Epps' criminal history

 4    only.
              DATED this ____
                          11 day of September, 2017.
 5    IT IS SO ORDERED.

 6
 7                                                   _____________________________________
                                                     Gloria M.STA
                                                    UNITED        TES DISTRICT
                                                               Navarro, Chief Judge JUDGE
 8                                                   United States District Court
                                                    Dated this _ _ __ day of _ __, 2017
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